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 5
     Attorney for Narcisco Martinez
 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 08-292 LKK
10           Plaintiff,                 )
                                        ) STIPULATION AND ORDER
11      v.                              ) CONTINUING SENTENCING
                                        ) (November 23, 2010)
12   NARCISCO MARTINEZ                  )
                                        )
13                                      )
             Defendant,                 )
14   ___________________________________)
15
      This case is now set for sentencing on October 19, 2010.          The
16
     Probation Officer reports that he cannot have the pre-sentence
17
     report done in time for this date.        The parties therefore
18
     stipulate sentencing be reset for November 23, 2010 and request the
19
     Court so order.
20
          The new schedule for the pre-sentence report would be as
21
     follows:
22
     Proposed pre-sentence report due to counsel: October 19, 2010;
23
     Objections to Probation Officer: November 2, 2010;
24
     Report filed with Court: November 9, 2010;
25
     Motion for Correction filed by: November 16, 2010
26
     Sentencing: November 23, 2010 at 9:15AM.
27
28                                         1
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 1   Dated October 2, 2010
 2
        /S/JASON HITT                          /S/ J TONEY
 3        Jason Hitt                               J. Toney
         Assistant U.S. Attorney               Attorney for Defendant
 4
 5
 6
 7
 8   SO ORDERED:
 9   Dated October 7, 2010
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28                                         2
